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EXHIBIT “A”

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Stanley Kauffmann Was born in New Yerk City on April 24, 1916, and Was graduated
§rc)m the College of Pine Arts of New York University in 1935. He spent ten years, from
1931 to 1941, as an actor and stage manager With the Washington Square Pleyers and
published a large number of short as WeH as long plays. He Was a}so the author efseven
neve§s} published in the United States and abroad, and two collections of memoirs; for
Bantam, Ballantine, and Knopf, he Worked.as a beck publisher’s editor from 1949 to
1969. litem 196; to 1986, Kauffmane taught drama and film at Yale University; beween
the years 1973 and 2006, he also taught at ’Ihe City University of New York, Hueter
Co§lege, and Adelphi Unjversitj:. 4

Starttng in 1958, Kauffmann became active in criticism. At that time he Was appoint~
ed the §im critic 0§ fha New Republic, With Which magazine he Was essbciated ever since

':;cept for all eight~month period in 1966 When he Was etchxsively the theater critic of
B?ze New York Tz`mes. ln addition to his Elm reviews, he wrote a large number ofbook
reviews for T!ze New Republz’c; from 1969 to 1979 he served as both film and theater critic
for this magazine and eat]ier, from 1963 to 19 65, Kauifmann 3150 served as the drama
critic for the Peblic Broadcasting television station in New York, WNET. He eentinued
as flint critic for Uze New Repz,zbl£c but Wrote theater criticism for the Samz'day Review
for five years, from 1979 to t985. He contributed reviews and articies to many other
journafs, as WeH-among them Hor`izon, Cammentary, Salmagundi, Yale Review, Kenyon
Review, '.Uzeszter, and Uze Amerz'can Sc?zolar.

Kau§fmann published eight coilections of film criticism in his lifetime A Worfd on
Pilm (19 66), Fz`gures esz'g}zt (1971), Living Images (1975), Befozfe My Eyes (1980), Field of
Vz‘ew (1986), Disfinguisking Featuz'es (1994), Regardz'ng Film {200'1}, and Ten Greczf Fifzezs
(2012)_ He Was the editor of the anthoiogy Amerz'can Pz`Zz/rz Crfticz'm: Prom the Begz`zmings
to Cif“izen Kezne (1972}. He aiso published three collections of theater criticism, Perscms of
the Drama (1976), Uzeater Critz'cz`sms (1983), and About the ?keater {2.010), together With
two coilectiens of interviews: Conversatiezzs with Sfazzle)' Kae§'mann (2003) and Pi£m
Ct'z'tz`c Talks: Intewz'ews with S`tanley Kczujmam, 1972~2012 (2013).

In 1974 Kauffmann Was given the George kan Nathan Award for Drametic C.riti~
cism; from 1972 to 1976 he Was a member of the Theater»and-Film Advisory Panel of the
National Endewment far the Arts; in 1969 and 1975 he WaS a juror for the National Booit
Awards; and in 1982 he received the George Pelk Award for Piim Criticism as Well as the

 

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§ irvin Boeth Award in 1986, in addition to the 1986 Bixmingham Piim Pestival Prize
:`:: .;ifetime Achievement and the 1999 Te}luride Pilm Festival Award for Criticism. A
:`::mer 'Eord Fetmdation (1964, 1971), Rockefetler {1978), Guggenheim (197§~80),}§1;>2_111
‘?:endation (1986}, and Ne‘,»tZr Yorl< Instimte for the Humanities {1995) fellow Kauff-
rem received an Emmy award for the first'ever television series about fdm, which he
: :~zciucted for five years in the 39603 on WNET~TV, the New York PBS station He also
fi;e'eed, in 1995, the Gutstanding Teacher Award from the Asseciation for "Iheater in
`~:i§her Education.

lore-deceased in 2012 by his Wife since 1943, Laura Cehen Kauffmann, Stanley Keuit”-
:;:»:.n died in New York City en Qctober 9, 2013, at the age of muety-seven.

 

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